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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

                                                     )
FREE SPEECH FOR PEOPLE, et al.,                      )
                                                     )
                    Plaintiffs,                      )      Civ. No. 22-666 (CKK)
                                                     )
                    v.                               )
                                                     )      CERTIFIED LIST OF CONTENTS
FEDERAL ELECTION COMMISSION,                         )      OF ADMINISTRATIVE RECORD
                                                     )
                    Defendant.                       )
                                                     )


                  FEDERAL ELECTION COMMISSION’S CERTIFIED LIST
             OF CONTENTS OF THE ADMINISTRATIVE RECORD OF PLAINTIFFS’
              ADMINISTRATIVE COMPLAINT IN MATTER UNDER REVIEW 7207

             The Federal Election Commission (“Commission”), by its Secretary and Clerk, hereby

    certifies that the documents listed below constitute the non-privileged materials that comprise

    the administrative record of the Commission in Matter Under Review (“MUR”) 7207 as it

    relates to the administrative complaint filed by Plaintiffs Free Speech for People and Campaign

    for Accountability, in compliance with the Court’s Minute Order dated June 10, 2022. See also

    LCvR 7(n)(1). 1

             The pages of the record documents are sequentially numbered AR1 through AR359.

    Document                                                                        Administrative
     Number                                                                         Record Pages

        1.        Administrative Complaint, MUR 7207 from Ronald A. Fein,         AR1 – AR21
                  individually and on behalf of Free Speech for People, and
                  Anne Weismann, Campaign for Accountability (date-stamped
                  December 19, 2016).

        2.        Letter from Jeff S. Jordan, Assistant General Counsel,          AR22 – AR23


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       Enclosures and attachments identified with an asterisk (*) are not duplicated within the
administrative record.
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         Complaints Examination & Legal Administration (“CELA”),
         to His Excellency Sergey Ivanovich Kislyak, Ambassador of
         the Russian Federation (December 22, 2016) (advising of
         receipt of administrative complaint) (standard forms and
         procedures are omitted from the record).

3.       Letter from Jeff S. Jordan, Assistant General Counsel, CELA,    AR24
         to Anne Weismann, Campaign for Accountability (December
         22, 2016) (acknowledging receipt of administrative
         complaint) (standard forms and procedures are omitted from
         the record).

4.       Letter from Jeff S. Jordan, Assistant General Counsel, CELA,    AR25 – AR26
         to Donald F. McGahn, Donald J. Trump for President, Inc.
         and Timothy Jost, as Treasurer (December 22, 2016)
         (advising of receipt of administrative complaint) and
         Enclosures* (administrative complaint) (standard forms and
         procedures are omitted from the record).

5.       Letter from Jeff S. Jordan, Assistant General Counsel, CELA,    AR27
         to Ronald A. Fein, Free Speech for People (December 22,
         2016) (acknowledging receipt of administrative complaint)
         (standard forms and procedures are omitted from the record).

6.       Response of Donald J. Trump for President, Inc. and Bradley     AR28 – AR33
         T. Crate, as Treasurer, MUR 7207 (date-stamped January 25,
         2017).

7.       Amended Administrative Complaint, MUR 7207 from Ronald AR34 – AR62
         A. Fein, individually and on behalf of Free Speech for People,
         and Daniel Stevens, individually and for Campaign for
         Accountability (date-stamped May 4, 2017).

8.       Letter from Jeff S. Jordan, Assistant General Counsel, CELA,    AR63
         to Daniel Stevens, Campaign for Accountability (May 10,
         2017) (acknowledging receipt of amended administrative
         complaint).

9.       Letter from Jeff S. Jordan, Assistant General Counsel, CELA,    AR64
         to Ronald A. Fein, Free Speech for People (May 10, 2017)
         (acknowledging receipt of amended administrative
         complaint).

10.      Letter from Jeff S. Jordan, Assistant General Counsel, CELA,    AR65 – AR66
         to His Excellency Sergey Ivanovich Kislyak, Ambassador of
         the Russian Federation (May 10, 2017) (advising of receipt of

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         amended administrative complaint) and Enclosure* (amended
         administrative complaint).
11.      Letter from Jeff S. Jordan, Assistant General Counsel, CELA,    AR67 – AR68
         to Meagan Sowards Newton, counsel to Donald J. Trump for
         President, Inc. and Bradley T. Crate, as Treasurer (May 10,
         2017) (advising of receipt of amended administrative
         complaint) and Enclosure* (amended administrative
         complaint).

12.      Letter from Jeff S. Jordan, Assistant General Counsel, CELA,    AR69 – AR70
         to Meagan Sowards Newton, counsel to Donald J. Trump
         (May 10, 2017) (advising of receipt of amended
         administrative complaint) and Enclosures* (administrative
         complaint, amended administrative complaint) (standard
         forms and procedures are omitted from the record).

13.      Response of Donald J. Trump, Donald J. Trump for President, AR71
         Inc. and Bradley T. Crate, as Treasurer, to the Supplemental
         Complaint, MUR 7207 (date-stamped May 26, 2017).

14.      Second Amended Administrative Complaint, MUR 7207               AR72 – AR79
         from Ronald A. Fein, individually and on behalf of Free
         Speech for People, and Daniel Stevens, individually and for
         Campaign for Accountability (date-stamped June 2, 2017).

15.      Letter from Jeff S. Jordan, Assistant General Counsel, CELA,    AR80– AR81
         to His Excellency Sergey Ivanovich Kislyak, Ambassador of
         the Russian Federation (June 9, 2017) (advising of receipt of
         second amended administrative complaint) and Enclosure*
         (second amended administrative complaint).

16.      Letter from Jeff S. Jordan, Assistant General Counsel, CELA,    AR82
         to Daniel Stevens, Campaign for Accountability (June 9,
         2017) (acknowledging receipt of second amended
         administrative complaint).

17.      Letter from Jeff S. Jordan, Assistant General Counsel, CELA,    AR83 – AR84
         to Meagan Sowards Newton, counsel to Donald J. Trump,
         Donald J. Trump for President, Inc. and Bradley T. Crate, as
         treasurer (June 9, 2017) (advising of receipt of second
         amended administrative complaint) and Enclosure* (second
         amended administrative complaint).

18.      Letter from Jeff S. Jordan, Assistant General Counsel, CELA,    AR85
         to Ronald A. Fein, Free Speech for People (June 9, 2017)


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             (acknowledging receipt of second amended administrative
             complaint).

    19.      Response of Donald J. Trump for President, Inc. and         AR86 – AR88
             Treasurer Bradley T. Crate, MUR 7207 (dated June 17, 2020).

    20.      First General Counsel’s Report, MURs 7207, 7268, 7274, and       AR89 – AR267
             7623 (February 23, 2021) and Attachments (Proposed Factual
             and nonprivileged draft Factual and Legal Analyses). 2

    21.      Certification of the April 22, 2021 votes in MURs 7207,          AR268 – AR272
             7268, 7274, and 7623 (signed April 26, 2021).

    22.      Letter from Jin Lee, Acting Assistant General Counsel, to E.     AR273
             Stewart Crosland, counsel to Donald J. Trump, Make
             America Great Again PAC (formerly known as Donald J.
             Trump for President, Inc.), and Bradley T. Crate, as treasurer
             (April 30, 2021) (MURs 7207, 7268, and 7623).

    23.      Letter from Charles Kitcher, Acting Associate General            AR274 – AR277
             Counsel for Enforcement, to Harold Russell Taub (May 17,
             2021) and Enclosures* (Complaint, Supplements to the
             Complaint) (standard forms and procedures are omitted from
             the record).

    24.      Memorandum to the Commission from Office of General              AR278 – AR279
             Counsel, MURs 7207, 7268, 7274, and 7623 (June 1, 2021).

    25.      Second General Counsel’s Report, MUR 7207 (June 1, 2021).        AR280 – AR294

    26.      Statement of Designation of Counsel Eric Levine and Eric    AR295
             Heichel for H. Russell Taub, MUR 7207 (dated June 8, 2021).

    27.      Certification of the June 10, 2021 votes in MUR 7207 (signed     AR296
             June 11, 2021).

    28.      Letter from Shana M. Broussard, FEC Chair, to Eric Levine,       AR297– AR309
             counsel to H. Russell Taub (June 11, 2021) (advising of
             reason to believe findings) and Enclosure (Factual and Legal
             Analysis).



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       Non-privileged, publicly available sources that are referenced in the First General
Counsel’s Report, which include news articles, tweets, reports, and court documents, are not
reproduced within the administrative record.
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29.      Memorandum to the Commission from Office of General            AR310 – AR312
         Counsel, MUR 7207 (July 22, 2021).

30.      Certification of August 10, 2021 vote in MURs 7207, 7268,      AR313
         7274 and 7623 (signed August 13, 2021).

31.      Certification of August 10, 2021 votes in MUR 7207 (signed     AR314
         August 13, 2021).

32.      Closing letter from Nicholas Bamman, Attorney, to Eric       AR315 – AR320
         Levine and Eric Heichel, counsel for H. Russell Taub (August
         18, 2021) (MUR 7207) and Enclosure (Conciliation
         Agreement of H. Russell Taub).

33.      Closing letter from Claudio Pavia, Acting Assistant General    AR321– AR322
         Counsel, to Ronald A. Fein, Free Speech for People, and
         Anne Weismann, Campaign for Accountability (August 18,
         2021) (MUR 7207) and Enclosure* (Conciliation Agreement
         of H. Russell Taub).

34.      Closing letter from Claudio Pavia, Acting Assistant General    AR323
         Counsel, to His Excellency Anatoly Antonov, Ambassador of
         the Russian Federation (August 18, 2021) (MUR 7207).

35.      Closing letter from Claudio Pavia, Acting Assistant General    AR324 – AR325
         Counsel, to E. Stewart Crosland, counsel to Donald J. Trump,
         Make America Great Again PAC, and Bradley T. Crate, as
         treasurer (August 18, 2021) (MURs 7207, 7268 and 7623).

36.      Supplemental Statement of Reasons of Vice Chair Allen          AR326 – AR335
         Dickerson, MURs 7207, 7268, 7274 and 7623 (September 16,
         2021).

37.      Certification of the September 28, 2021 vote in MURs 7207,     AR336
         7268, 7274 and 7623 (signed September 29, 2021).

38.      Re-opening letter from Claudio Pavia, Acting Assistant         AR337
         General Counsel, to Eric Levine and Eric Heichel, counsel to
         H. Russell Taub (October 1, 2021) (MUR 7207).

39.      Re-opening letter from Claudio Pavia, Acting Assistant        AR338 – AR339
         General Counsel, to E. Stewart Crosland, counsel to Donald J.
         Trump, Make America Great Again PAC, and Bradley T.
         Crate, as treasurer (October 1, 2021) (MURs 7207, 7268 and
         7623).


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40.      Re-opening letter from Claudio Pavia, Acting Assistant         AR340 – AR341
         General Counsel, to Ronald A. Fein, Free Speech for People,
         and Anne Weismann, Campaign for Accountability (October
         1, 2021) (MUR 7207).

41.      Statement of Reasons of Vice Chair Allen Dickerson and         AR342 – AR344
         Commissioners Sean J. Cooksey and James E. “Trey”
         Trainor, III, MURs 7207, 7268, 7274 and 7623 (November
         22, 2021).

42.      Certification of the January 13, 2022 votes in MURs 7207,      AR345 – AR346
         7268, 7274 and 7623 (signed January 14, 2022).

43.      Closing letter from Claudio Pavia, Acting Assistant General AR347
         Counsel, to Eric Levine and Eric Heichel, counsel to H.
         Russell Taub (January 19, 2022) (MUR 7207) and Enclosure*
         (Conciliation Agreement of H. Russell Taub).

44.      Closing letter from Claudio Pavia, Acting Assistant General    AR348 – AR349
         Counsel, to E. Stewart Crosland, counsel to Donald J. Trump,
         Make America Great Again PAC, and Bradley T. Crate, as
         treasurer (January 19, 2022) (MURs 7207, 7268, and 7623).

45.      Closing letter from Claudio Pavia, Acting Assistant General    AR350 – AR351
         Counsel, to Ronald A. Fein, Free Speech for People and Anne
         Weismann, Campaign for Accountability (January 19, 2022)
         (MUR 7207) and Enclosure* (Conciliation Agreement).

46.      Statement of Reasons of Commissioners Shana M. Broussard       AR352 – AR357
         and Ellen L. Weintraub, MURs 7207, 7268, 7274 and 7623
         (February 15, 2022).

47.      Letter from Amanda Andrade, Attorney, to E. Stewart            AR358
         Crosland, counsel to Donald J. Trump, Make America Great
         Again PAC, and Bradley T. Crate, as treasurer (February 23,
         2022) (MURs 7207, 7268, and 7623) and Enclosures*
         (Statements of Reasons).

48.      Letter from Amanda Andrade, Attorney, to Ronald A. Fein,       AR359
         Free Speech for People, and Anne Weismann, Campaign for
         Accountability (February 23, 2022) (MUR 7207) and
         Enclosures* (Statements of Reasons).




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       IN TESTIMONY WHEREOF, the Acting Secretary and Clerk of the Federal Election

Commission, having been duly authorized, has set her hand and affixed the seal of the Federal

Election Commission in the city of Washington, District of Columbia, this _22nd__ day of

July, 2022.

Laura e        Digitally signed
               by Laura e Sinram

Sinram
               Date: 2022.07.22
               12:30:04 -04'00'
Laura Sinram
Acting Secretary and Clerk of the
Federal Election Commission




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